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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
UNITED STATES OF AMERICA,                                                   :

                                       Plaintiff,                    :

                   - against -                                       :                ORDER

FERNANDO PABLO VILLARREAL CANTU,                                     :          13-CV-8803 (AT)(KNF)
BLANCA B. DE VILLARREAL F/K/A BLANCA
GUADALUPE BALLESTEROS ALMAGUER,                                      :
CARNES VI-BA, S.A. DE C.V., EMPACADORA VI-
BA, S.A. DE C.V., INTERNACIONAL GRAIN S.A.                          :
DE C.V., SALDAÑA Y GOMEZ GRANOS Y
SEMILLAS S.A. DE C.V., CENTRAL DE GRANOS                            :
DE LA LAGUNA S.A. DE C.V., COMPAÑIA
GANADERA VI - BA, S.A. DE C.V., and GRANOS                          :
ROLADOS, S.A. DE C.V.,
                                                                      :
                                        Defendants.
------------------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         A telephonic conference was held on January 12, 2021, with counsel to the parties who have

appeared in the action. As a result of the discussion had during the conference , IT IS HEREBY

ORDERED that:

         1.        all discovery, of whatever nature, be initiated so as to be completed on or before

                   July 15, 2021;

         2.        the last date on which to amend pleadings will be February 16, 2021;

         3.        the last date on which to join additional parties will be February 16, 2021;

         4.        a telephonic status conference will be held with the parties on June 15, 2021, at

                   10:00 a.m. The parties shall use dial-in number (888) 557-8511 and enter access

                   code 4862532;

         5.        any dispositive motion shall be filed on or before August 15, 2021;

         6.        the response to any such motion and any reply shall be made in accordance with

                   Local Civil Rule 6.1 of this court; and
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7.    if no dispositive motion is made, the parties shall submit their joint pretrial order to

      the Court on or before August 15, 2021. That document must conform to the

      requirements for such an order that are found in the Individual Rules of Practice of

      the assigned district judge.

Dated: New York, New York                       SO ORDERED:
       January 12, 2021
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                      INITIAL CONFERENCE QUESTIONNAIRE

8.    If not yet made, date for completion of automatic disclosures required by Fed. R. Civ. P.
      26(a) or, where applicable, Local Civil Rule 33.2 of this court.: ________________

9.    Number of depositions by plaintiff(s) of:         parties _____ non-parties _____

10.   Number of depositions by defendant(s) of:         parties _____ non-parties _____

11.   Number of depositions which the parties expect may last longer than the seven hour limit
      under Fed. R. Civ. P. 30(d)(2): party _____    non-party _____

12.   Number of expert witnesses of plaintiff(s): _____ medical _____ non-medical
      Date for expert report(s): _________________

13.   Number of expert witnesses of defendant(s): _____ medical _____ non-medical
      Date for expert report(s): _________________

14.   Maximum number of requests for admission by: plaintiff(s) _____ and defendant(s) _____
      (Note: requests must be served at least 30 days before the discovery deadline)

15.   Date for completion of all discovery: __________________
      N.B. All discovery is to be initiated so as to be completed on or before the date the
      parties insert at paragraph 8.

16.   Date by which plaintiff(s) will supply his or her pretrial order materials to defendant(s):
      __________________

17.   Date by which the parties will submit a pretrial order with trial briefs and either
      (1) proposed findings of fact and conclusions of law for a non-jury trial, or (2) proposed voir
      dire questions and proposed jury instructions, for a jury trial: __________________

18.   Is there any limitation to be placed on discovery, including any protective or    confidentiality
      order(s)? ____ If yes, please provide a short statement of the limitation(s) needed.

19.   Is there any discovery issue(s) on which the parties, after a good faith effort, were unable to
      reach agreement? ____ If yes, please provide a short statement of the issue(s).

      Date:                                                     Date:


      _____________________________                             ______________________________
      Signature of Pro Se Plaintiff or                          Signature of Counsel to Defendant(s)
      Counsel to Plaintiff(s)
